
By the Court.—Freedman, J.
The evidence given at the trial established that the contract upon *502which this action was brought, had been rescinded by the letters of March 5 th and March 15th, and consequently no action can be maintained upon it by either party. The claim of the plaintiff that the letter of March 5th should be treated as a mere brutum fulmen cannot be sustained. There having been a rescission, proof of deliveries of ice subsequent to March 17th could not have the effect of reinstating the contract. Such deliveries may have been made at market rates as proposed by the letter of March 5th, but it was not necessary to determine the precise point. The letters excluded are not printed in the case and consequently it cannot be held that their exclusion on the ground of immateriality constituted error. Upon the whole case no sufficient reason appears for disturbing the judgment.
The judgment should be affirmed with costs.
Sedgwick, Ch. J., concurred.
